Case 2:O4-cV-02325-SHI\/|-STA Document 28 Filed 06/23/05 Page 1 of 3 Page|D 32

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Plaimirf,
VS' ease No. 04-2325- Ma-An

AMERICAN NATIONAL INSURANCE
COMPANY OF TEXAS, INTERMEDIARY
INSURANCE SERVICES, INC., and
MOODY REVIEW, INC.

Defendants.

 

CONSENT ORDER DISMISSING CAUSE WITH PREJUDICE

 

The parties to this lawsuit, Union Planters Corporation, Plaintitf, and American National
lnsurance Company of Texas, Intermediary lnsurance Services, lnc., and Moody Review, Inc.,
Defendants, hereby announce to the Court that the matters and things in controversy between
them have been compromised and settled and that this cause may be dismissed with prej udice.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that this cause is

dismissed with prejudice

Myh\/L___._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Date:

 

This document entered on the docket sheet in compliance

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Notice of Distribution

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Honorable Samuel Mays
US DISTRICT COURT

